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                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

 BOBBY SINGLETON, et al.,             )
                                      )
      Plaintiffs,                     )
                                      )
 v.                                   )
                                             Case No.: 2:21-cv-1291-AMM
                                      )
 WES ALLEN, in his official           )
 capacity as Secretary of State of    )        THREE-JUDGE COURT
 Alabama, et al.,                     )
                                      )
                                      )
      Defendants.


 EVAN MILLIGAN, et al.,               )
                                      )
      Plaintiffs,                     )
                                      )      Case No.: 2:21-cv-1530-AMM
 v.                                   )
                                      )        THREE-JUDGE COURT
 WES ALLEN, in his official           )
 capacity as Secretary of State of    )
 Alabama, et al.,                     )
                                      )
      Defendants.                     )

Before MARCUS, Circuit Judge, MANASCO and MOORER, District Judges.

BY THE COURT:

                                     ORDER

      “In 2020, the decennial census revealed that Alabama’s population had grown

by 5.1%,” and “the Alabama Legislature’s Committee on Reapportionment began


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creating a new districting map.” Allen v. Milligan, No. 21-1086, 2023 WL 3872517,

at *8 (U.S. June 8, 2023). “The Alabama Legislature enacted [a new] map [(“the

Plan”)],” and Governor Ivey signed the Plan into law on November 4, 2021. Id.

“Three groups of plaintiffs brought suit seeking to stop Alabama’s Secretary of State

from conducting congressional elections under” the Plan. See Caster v. Allen, No.

2:21-cv-1536 (N.D. Ala.); Milligan v. Allen, No. 2:21-cv-1530 (N.D. Ala.);

Singleton v. Allen, No. 2:21-cv-1291 (N.D. Ala.).

       A preliminary injunction hearing began on January 4, 2022, and concluded

on January 12. On January 24, 2022, this Court preliminarily enjoined Alabama from

using the Plan in the forthcoming elections, finding that Alabama’s 2021

redistricting map likely violates § 2 of the Voting Rights Act, and that the

“appropriate remedy is a congressional redistricting plan that includes either an

additional majority-Black congressional district, or an additional district in which

Black voters otherwise have an opportunity to elect a representative of their choice.”

Caster Doc. 101 at 6; Milligan Doc. 106 at 5. The Defendants appealed to the

Supreme Court.

      Recognizing that “redistricting and reapportioning legislative bodies is a

legislative task which the federal courts should make every effort not to pre-empt,”

Wise v. Lipscomb, 437 U.S. 535, 539-40 (1978) (opinion of White, J.), this Court

gave the Alabama Legislature the first opportunity to draw a new map. After it


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appeared increasingly unlikely that the Legislature would act, the Court notified the

parties of its intent to appoint a special master and cartographer. See, e.g., Caster

Doc. 119; Milligan Doc. 129. After affording the parties an opportunity to object,

the Court appointed a special master and cartographer on February 7, 2022. See

Caster Doc. 120; Milligan Doc. 130. Later that day, the Supreme Court stayed the

preliminary injunction.

      On June 8, 2023, the Supreme Court affirmed the preliminary injunction in all

respects. See Allen, 2023 WL 3872517, at *5. The Supreme Court then vacated the

stay on June 12, 2023. See Allen v. Caster, No. 21-1087, 2023 WL 3937600, at *1

(U.S. June 12, 2023); Allen v. Milligan, No. 21-1086, 2023 WL 3937599, at *1 (U.S.

June 12, 2023). Accordingly, the preliminary injunction and appointment orders

remain in effect.

      From the inception of this action, the Court has been acutely aware that these

proceedings are time-sensitive. As the Court awaited the Supreme Court’s decision,

we instructed Secretary Allen “to inform the court . . . of the latest date by which a

Congressional map must be in place for it to be used in the 2024 election.” Caster

Doc. 147 at 1; Milligan Doc. 145. Secretary Allen responded: “a new plan by around

October 1, 2023, would provide enough time to reassign voters, print and distribute

ballots, and otherwise conduct the forthcoming 2024 primary elections based on the

new map.” Caster Doc. 148 at 7; Milligan Doc. 147.


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      The Court held a status conference on June 16, 2023, to discuss the next steps

in these cases. Before the status conference, the Secretary and intervening

Defendants filed a notice advising the Court that “the Alabama Legislature intends

to enact a new congressional redistricting plan that will repeal and replace the 2021

Plan” and requesting that the Court allow the Legislature until July 21, 2023 to enact

the new plan. Caster Doc. 154 at 2; Milligan Doc. 166.

      For their part, the Milligan and Caster Plaintiffs moved the Court for a

scheduling order setting deadlines for a remedial process to follow the July 21, 2023

date the Defendants offered. Caster Doc. 155. Although the Singleton Plaintiffs did

not formally join that filing, they informed the Court at the status conference that

they do not object to the relief requested. No set of Plaintiffs objected to the July 21,

2023 date the Defendants offered.

      At the status conference, the parties indicated substantial agreement on the

appropriate next steps for these proceedings. In light of their agreement, the time-

sensitivity of these proceedings, and the provisions of Purcell v. Gonzalez, 549 U.S.

1, 4 (2006), the Court ORDERS as follows:

      1.     During the status conference, the Defendants requested the opportunity

to provide supplemental briefing on or before June 20, 2023 regarding the impact, if

any, of North Carolina v. Covington, 138 S. Ct. 2548 (2018), on the appropriate




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remedial process. The request is GRANTED. The supplemental brief is due on or

before the close of business JUNE 20, 2023.

      2.     Consistent with Supreme Court precedent holding that the state

legislature must have the first opportunity to draw a new map, if practicable, the

Court will not require the parties to engage in any discovery or further proceedings

until after JULY 21, 2023. If at any time, however, any party concludes that further

proceedings are necessary, they may promptly advise the Court in a written pleading.

      3.     The Defendants are DIRECTED to provide this Court with a status

report on JULY 7, 2023, and again on JULY 14, 2023, regarding the status of the

Alabama Legislature’s efforts to enact a new congressional districting plan. The

Defendants are further DIRECTED to advise the Court on or before JULY 21, 2023

whether a new congressional plan has been enacted by the Alabama Legislature.

      4.     The Court will not instruct either the special master or the cartographer

to conduct any work until after JULY 21, 2023.

      5.     If the Alabama Legislature enacts a new plan and any set of Plaintiffs

objects to that plan, such Plaintiffs are DIRECTED to file their objections in detail

on or before JULY 28, 2023, including such data, documents, and reports as may be

appropriate. The Defendants, in turn, are directed to file their response to any such

filing no later than AUGUST 4, 2023. Plaintiffs shall have until the close of business

on AUGUST 7, 2023, to file any reply.


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       6.     In consultation with the parties, the Court had previously ordered that

these proceedings be trial-ready by July 31, 2023. That date is GENERALLY

CONTINUED.

       7.     If a hearing becomes necessary for any purpose regarding a new plan

enacted by the Alabama Legislature, that hearing will commence on AUGUST 14,

2023. The Court has set this date based on consultation with and the agreement of

the parties that it is appropriate.

       8.     If the parties anticipate that any set of Plaintiffs will object to a new

plan enacted by the Alabama Legislature, the parties are DIRECTED to file with

the Court a joint proposed scheduling order on or before JULY 26, 2023, which will

include stipulated dates to accommodate discovery, expert witness disclosures, and

any other appropriate proceedings related to the anticipated objection and the August

14 hearing date.

       9.     If the Alabama Legislature is unable to enact a new plan, because the

preliminary injunction remains in effect, the parties are ADVISED that the special

master and cartographer will commence work on a remedial map after July 21, 2023.

       10.    Nothing in the foregoing order limits the Defendants’ right to a

permanent injunction proceeding at a future date if necessary. The Court has adopted

the foregoing schedule based on Defendants’ agreement that any such proceeding

shall not occur before the 2024 congressional elections.


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      11.    If any material circumstance changes, the parties may promptly advise

the Court in a written pleading.

      DONE and ORDERED this 20th day of June, 2023.




                                   UNITED STATES CIRCUIT JUDGE



                                   _________________________________
                                   ANNA M. MANASCO
                                   UNITED STATES DISTRICT JUDGE




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